Case 1:16-cv-02134-ALC Document 86-57

CIVIL COUR'|` (]F Ti-IE CIT`r' {JF NEW YORK
COUNT\" OF BRUN}{

_____________________________________________________ _\[
2246 Web:-;ter Avenue. H`DFC,
Piuintii`i`,
-against-
Elizabeth Alibieu Aee'vedo‘
Dei`enciant(a)
--1- x

 

'I` o l:he above named defendama(s]:

Filed 08/18/17 Page 1 of 110

ii ii iii '.“-',»§l§i

INDEX N{`].
i~“il.E NO. 133!?,0

SUMMONS `
Piuee of'\/euue is I:’|ainiiii”:»r
place ofbusiness.'

2246 Webste.r Av'enue
Bronx, NY ii}-‘l$?

YDU ARE HEREB`Y SUMMONED to appear ar the C`WIL COURT OF THE CITY Oi`-`
NEW YOR_T{, COUN'!`Y C}I*` BRC)NX at the office of the eieric of the said Courr at 35 | Grand
Concourae, Bronx, N`Y 10451, in the COUNTY OF BRUNX, Sl'ate of New Yoi'ie, within the
time provided by law as noted below and to file am answer to the below complaint with 1 ye--

olerk: upon your li`eiiure to answer, judgment Will be taken against you t`or the s m o '.
with interest thereon from Juiy I__ 2006 together with coats oi`thie aetion.

DATED: lilly 1,201 l

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W'I]J L{r_\ \__l 1 ‘
§aoax CGUNTY
Dei"endant’s Adcli'ess;
E]izaberh Aiii:»izu Aeevedo
811 E. 1671'11 Sl‘,l‘eei, Apl. ZA
Brenx, NY 10459»2 ?71

N`ol'e: The law provides lhat: (a`] It;` the summons is served by its
within the City of New Yoric, you must appear and answer within ?`WENTY dain met

aerviee; or (b`) I`l`rhe summons is served by any

service thereof is filed with the Clerl< of this Coim.

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within the Clly oFNew ‘for[<, you must appear and answer within TH [RT‘&"' clay<;r} f

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1541 Westehe:;ter Avenue
Suite SOUC
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ij_¢')ia) 355-20?4

 

delivery lo you personally
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Page 1

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 2 of 110

COM`]’LAIN'I`

Iil`RST ACTION: Plaintit`f seeks to recover damages t`roin defendant(_`s) t`ot' breach ol"a lease
agreement in the sum o|’$3,993.9`l representing rental arrears for the months ot`July, 2006
bai&n¢€‘- 01"$399-79; A'llgust_. 2006 through and including Noven'il;)er, 2006 at the a greed

monthly stan ot`fBS‘:}S.SFi tier the premises known as 2246 Wehster i»‘t_\.reaue1 rtpt.}¢t Brons. N‘t’
1045? together with costs

as the court may deem just.

SECOND ACTION: Plaintii`t` seeks to recover damages lt`rotn the defendant in the sum of

3600.00 representing damages together with costs and disbursements ot` this action and t`or
such other and further relief as the Court may deem just.

THIR]J AC'.I`[ON: Pla.int.it`t seeks to recover damages from the defendant in the stun ol`

SSOG.OO representing reasonable attorneys ll"ees together with costs and disbursements of this
action and lfor such other further reliet`as the Cotirt may deem just.

WHEREFOR.E, Piaintit`i` demands judgment (`A) on the Fiist diction, in the sum of $3,993.91
plus interest front Ju`ly l , 2006 together with costs and disbursements of this action and for
such other and further ieIief as the Cottrt may deem just_. (E») on the Second Aetion, in the sum
ot` 3600.00 plus interest from lu`|y 1, 2006 together with costs and disbursements ot this
action and t`or such other and further relief as the (Ioart may deem _iusL (lC) on the Third

Actioa, in the sum ot` $500.00 together with costs and disbursements ot` this action and t`or
such other and further relief as the C.ourt may deem _just.

The P|aintift` in this action is NOT required to be licensed b the New ' ._
.Depattment of Consmner At`t`airs, y Ymk any

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and disbursements ot` this action and tier such other and farther reliel`

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 3 of 110

 

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mmmim-md`§ itebsi;er Avenue, HDFC' ORAL ANSWER
_Haai“et* action ron Montt:v omar

531 i eebeth nli.b.izt_t hereunder

_‘“--_._

Det`endant, Elizabetlt Alibizu Acevedo_. at Etl l E. |t’)?th Streel Apt'. 2A_. Brou.\'_. N‘i"` lthl$i)i ., answers thel C.`omt:ilamt
as t`ollows:

siLN_SME_E; Dtttl’cti: ll/llll{|ll
|'t’.`ht.'c')i: all that nppl_;{l

l General Denial: I deny the allegations in the complaint
t ` V t

2 l did not receive a copy ot`the sammons and complaint
3 ___I received the Sum.tnons and Compltu`nt_. but service was not correct as required by iavr.
._____ t 4 q

~'l- _m_ l do not owe this debt.

5 m_ml did not incur this debt. l am the victim of identity th.eti or mistaken identity

6 -_I have paid all or part ofthe alleged debt.

7 §§ l dispute the amount ot`the debt.

8 mm_l`i‘lairitift` is required to be licensed by the department ot` consumer affairs ot`the Cit}' ot` New "l'*ork and

does not allege a license number in the Complaint.

il _'_Statute ot` limitations {` the time has passed to sue on this debt: more than six years_l.

10 _mm'l`he debt has been discharged in bankruptcyd

l I _m_mThe collateral (property) was riot sold at a commercially reasonable price

12 §§ Unjust enrichment (the amount demanded is excessive compared with the original debt.]
13 w\i"iolation ot`the duty ol` good faith and fair dealing

]»:l m Unconscionability (`the contract is un_l`air.)

15 mmLaches (plaintitl`has excessively delayed in bringing this lawsuit to my disadvantage_}

16 Det`endant is in the military.

l 'i" mmi Ulltet:

““`“ ornea

1 3 _ Please take notice that my only source ol"incorne is _“_u__w__m____whicl-l is exempt H.Om CUHCC[]'GH`
coMsncLAiM

19 Counterelaim(s):$ Reason:

This case is scheduled to appear on the calendar as follows:

Date: .lanuary 3, 2012 Part: Part ll - SeIt` Represented Non».ltlry lttrotn 503 `l`ime: 111:30 AM Bot'h Sides Nntilied.

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131 Westchester Ave mED
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BRONX CDUNTY

Page 3

 

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Pttimttrts),

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-against

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Det"endant(s)

 

lt is hereby stipulated and agreed by and between the parties that the above-referenced
action is settled as follows:?\B-lmm\~€‘{: -';mm;>im\‘BLL-‘ ‘iimm;m‘ ':m_m‘ C" ‘mm-‘\'m?m:ml_m
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 5 of 110

P|aintiff(s):

2246 Websler Avenue. HDFC
vs_
Defendsni{s}:

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index Numher: CV-UdB?£U-HFBX
Judgment issued: Per Deisult in SUpuleiiun

Ori Motion of:

I<avuiir.:h 6 Assoc:isies PC
161 Westehesler Averiue. Suiie 5001'.3, Peri.

Chesier. NY 16573-

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$5.696.53 Tetei Cests 6 D`rsbursemenls

The following named perties. addressed and identllisd as creditors belewz

P!airitiff erec!ildr(s] end address

(1} 2246 Webster Avenue. HDFC
2246 Webster Avenus. Bronx, NY 10457»

5130.60 Judgmeni; Toiaf

$5.029.53

Shsil recover of the Ie|lowing pedies‘ addresses end identified ss debtors belew:

 

Defendsnt debtor{s} end address
(1} Elizsbeth A|ibizu Ar:evedd

B‘l‘l E. 167lh SErsei. Apt. ZA, anx, N‘r* 10459»

 

Judgment entered et the anx Cciunly Civi| Courl. 851 Grsnd l.'.` d ‘
in the tolei amount of $6,029.53 cm 061'27!20‘12 at12:15 PM. oncnumep anx’ NY 1045-ip m ma STATE DF NEW YORK

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Case 1:16-c_v-02134-ALC Document 86-57 Filed 08/18/17 Page 6 of 110

 

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22 EB.<~:.TE s i-J ' F“ JUDGMENF _ .

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PLA.i'NTiFF(s'i
-AGAINST-

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DEFENDANT{si

i\MOUNT CLAlMED LEss PAYMENT(E~:') rJF 5200.00 $3,?93.‘11

INTEREST mem 0?)01;06 ss ici§_.§;,

$5,399.53
COSTS B‘{ STATU"!`E $2[1.00
SERVlC‘E OF SUMMONS AND C_`.OMI*LMNT 525.00

FILING OF SUMMONS AND CUMPLAIN'I` $45.00
PROSPEC'T.`WE MARSHAI..L-"S FE`E $40.0{}
§ IJO.QQ
TOTAL: $6,029.53

STATE C\F NEW YORK. C:OUNTY' UF WESTCHESTER:
ms uNDERslGNsD, M'TQRNE'.' A'r mw GF Tl-l s smle 01¢ Nsw YORK. GN €>F ‘rns.

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THAT ms DEFENDANT ¢\Nswsizsm cass was ss'r'n.sn PER s'rll’u!dirrm ` 3, 2012. 1'l-IAT

nEFENDANT(s; DEFM:LTsn nw sAll) s"rll'uLA‘rlc)N. 'rm: uNl)EnslGNso _,ii. e"~,i'rgri»il;;qr m

ss nms week Tm-: PENAm'ms ol-' P'Emum'.

DA.TED: WESTC.‘HESTER,NV
SEPTEMBER 25, 2012

 
  
   

  

KAVUL[CI' L' ASSOC - `|`ES, P'.C.
B‘i": GARY KAVULIC}"I. ESQ_
JUDGMENT E`NTERED ON

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 7 of 110

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lt is hereby stipulated and agreed by and lian the parties that the above~refmncod

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""» 86-5"?“""“|5"iwled 03/18/17 Page 9 of 110
f{uvu!ich & .»kssucintes, I"’.C.
131 ‘West'ehester Aveime
Suits $'DUC`
Purt Chester_, NY 10573
Pht}lle: [914) 355-2074 Ftt.:t;: (9]4] 355-3073

August 26, 2012

Etjzabeth Alibizu Acevedc
811}5.. tG'lth Street

Apt. lift

Brcnx,l>l"f 10459-2771

lte: Dei“su.lted Stipul.sticn

2246 chster Avcnue, HDFC
Filel\le.: 138-17

Desr Elizsbetli Alihizn Aeevedc:

Yeu are in default cf your payment under the stipulation signed by ycu, Plesse be

advised that if the default is not cured within 10 days cf the date cf d:is letter, my client
will pursue all remedies available to it under law.

Kindly forward all remittances tc us, payable tc the lew firm ct' l§avu ii ch & Assccietes,
P.C. st ltil Westcliester Avc., Suitc SOUE, Pcrt Chester, NY 105'?3 with your tile
number en said payment, Tllenk yee for your attention co this matter.

   
   
 

Very Tmly _,.'

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'I`hls is en attempt to collect s debt. .='my information obtained will be used l`er flint
purpose *l`his communication is from s debt collecter.

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 10 of 110 l

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STATE OF NEW YORK

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Stat.e ofHew Ycrlc_

COUNTY 01"` WESTCHESTER

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an investigation tn ascertain if die Dcf'enc|nrn{s] .E|izabcch Atibizu Acevci.lc is at the present
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Dn Seprembei-BS‘ lutz 1 Denisr~ Miranrtu. contacted the Defense manpower Date Cenrer
concerning the Det`endant Eliznbeth .»’tlibizu Aceveclo military statute

l inputled the l`!tct`endanr`s name and social eecut‘

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Nota ' Public

   

  

 

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 11 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 12 of 110

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Page 12

Case 1:16-cv-62134-ALC Document -57 titled 08/18/17 Page 13 of 110

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l{avtrlich oh Associetos PC (Counsel for Pitt) NYC Marshei

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ALB`ERTO TORRES, ESQ.

AT`|`URNEIY .»\'l' I.AW

 

 

629 MELROSE AVFCNUE BR(}NK. NEW YORK IU»|SE
Telephone (713} 620~0106 l-`aesimile ('?iE) 620-lllli'7

 

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C`ivil C`out't o'[" the C`ity o|` New ‘t'ork
851 Cirantl C`Oltt:ottrse
Bron.x._ i\lew Yorl<L |l)¢l:il

Attn: Patt 34€. Room 504

Re: 2246 Wehster Avenue i:llJl`»`C‘.
vs. Ehzal:»eth r’\libiztt Aee‘-'etlo
index No, 48 720-201 l

Deat' lionorahie Court':

Please accept this letter as a `l‘~lotiee of Appearancc on behalf of lilieaheth .#‘tiihi'.::u
Acevedo. `l\»i.s. Aeevedo has filed an Order to Sl\ow Cause that is returnable in this court on
Feht'uary l |, 2013.

Un]`ottunately, i have a conflict in schedule in that l am scheduled to be on trial in
lite matter of F'eople vs. Henri l_`~`.t'li»ttards1 Dockct No. 2012NY04591 l in `New l`Y"ol.‘lt {f.`.ount}/.

Attached hereto is a Notiee of Motion to be li[ed with the count requesting that the
court vacate a so ordered stipulation dated Januar}J 3, BUIR, and stay and vacate the
execution enid enforcement ol"ajnd_t_zment dated Seplernher 21 2012.

A cop)r o[` the motion was taxed to lite attorney ol"lecord on i-"eh\'uary ?. 2013. and
my assistant has an additional copy l`or opposing counsel

A]though it may he ptelnatttre_. it is requested that an immediate stay he put on the
garnishment oi"my client’s paycheck in that the likelihood ol" success on the merits ot`this
application favor my client.

Finaily. l shall he out of the ot`lice and leaving the country after Fchruary ll lll.l.i
and Will he out of the country for 2 weeks Il" the court shall desire l am available m
appear on Fehl'uary 13._ 2013 to argue the motion. '

l apologize t`or any inconveniences imposed the late tiling of the motion herein and
my mobility to j.n:rt~a)natl_tr appear in court. Thank you in advance for wm pm|'t.gqjgml

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Sincere|y.

Albe_rto Ftorres
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2246 WEBSTER AVENU}E l‘lDl~`C,

 

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w HW¢M to m "!U M__EMPB»

 

Upon reacting and filing of the annexed Al`linnal.ion ol" Ai.,l.?lil{'l`€) `I`OR.RES. ESQ. dated

Fet»ruary 7. 2013 ana ina affidavit af Et..tzatn;Tt-I ALlstzu ac‘.tsveoo, sworn t¢§`im ute

7“‘ day ot"February, .2{]1.3. and upon all pleadings and proceedings hereto lone had herein:_';___:'

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LI:J the P'lamt.tft`. or their attorneys Show Cause before the C.‘ivil Cout‘l at PA.-RT m
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RD()M W, to he held at the C.`ourlltouse located at 851 GRANI) CUNCOURSF., ‘i"§}RON_}C,
NEW YORK ON THE .l l 'P%‘) DAY (JF MAR(_`.l-l, 2013 at 9:3{1 a.m. or as soon therealier

as counsel may be heard Wl'l"l‘ an t)rder should not be entered directingl the ti)llowing_ le]iel`i

(a) St'aying, effective immediately the execution and enforcement ol` a judgment

dated September 2?. 2012 and the [lneome Exeeution dated {}ctoher ltl. 2012 against l')el`endant:

(l)} vacating and setting aside the terms and conditions ol`a stipulation dated .lann£,l.>J

3_. 2012 against the I}el`endanl and placing this matter back onto rha court gat_@ndar md

permitting said De{endant lo serve and tile an answer, upon the ground of excusable default and
meritorious defense;

(e} granting such other and further reliet`as to the Coar| may seemjust. reasonable

and equitable x

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 18 of 110

AND SUFFICIENT CAUSE AI’PEARI`NG Fl`l-lIEI{li'll"`OIitlE. l'l` lS l"fEREB'r’:

ORDERED. that all proceedings on the part ot-` the Plaintit`l"_. PlaintiH" s attorneys City

Marsha| or anyr other collection agency, be hereby stayed and directed not to enforce or execute

on the judgment dated September 21 2012 in an y manner whatsoever;

ORDERED. that Det`endant’s employer is to cease and desist from responding to the
.lncome E:<ecution Notice dated October ll§. 2012 issued by GARY KAVI.II_.IC`H_.F,`SQ.t and tn

discontinue garnishment of`Del"endant`s paycheck until further rader ot'this court
c:.:v_l_il;`ieec~.l r'r"i_¢:til v\_tl`l_i“r _I d

re=_ wired mercer rea _ t_r-“E“» ‘»‘E`

ORDERED, that service by - '- ol`a copy ol" this t’,)rder together

   

with tile papers upon which il was granted upon l’laintil`l"s attorneys C`rAR'r’ K.aVUI_,lt'_`lL

E.SQ_., K_AVUI..ICl-l 85 ASSOC.`IATES.. P.C`., fill Westehester A'v'crtue. Sui te ;'>'GOC`. l“`orl. (_`hester.

I\lew Y'orlr. 105?3. Telephone number (914_) 355-20?4 and I"'a.\' manner {_914_`} 355~2[}?& on or

before the 2 l mmday of licbruary, 2013 and filed with the C|erlt o'l'this flourt on the return

date be deemed sttfiicient.

Dated: Bronx_. New Yorl»:
liebrttary , 2013

FHJ!SZHB

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Case_ 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 19 of 110
CIVIL CGURT OF 'I`l-l`E CITY Ot”- N`E.W YORK
CUUNTY {JF BRONX

------------------------------------------------------------ iii _
2246 WEBSTER AVH`NUE `l'IDl"C`. index No. 48?2{}»2{)1 l
Plaintil`t`,
-against~ _`
AFFIRMATION Ol*
EMERGENCY
El`..lZABETH ALIBIZ,U ACF.V EDC}.
[)el"cntlant(s}.
_____________________________________________________________ §§
S"l`A'l`E UF NEW Y(:|Rl'i'. l
) ss:

COUNTY Ol"` BR{)NX l

ALBERTO TORJ?.I"_",S, an attorneyf dtin admitted to practice law before thc CTourts
ot` the State ol`l`~lew Yorlc. pursuant to t'.`,`l’lsR § 2106, under penalties ot` pcrjur_\,'. al"tirms
as fol`lows:

t. l arn the attorneyr for l`.ii._.li`£r‘*tiili`t"l'l Alsllil?_'.l_l`. l.`Jct`enclant in the above-
captioned matter and as such l am l'uily I"arni|iar with the t"acts and circumstances ot` this
ease

.'l. l respectfully submit this Ai`linnation in Support ot` Del`endant's
application herein

3, That upon information and belict`. in or about lannar_v 2011 Dct`cndant
who was not notified lay her employer that they were served with an tacoma lixecution
Noticc on a judgment dated Septernber 'l')’., ?.tllE. realized that her employer had started
garnishing Det`endant`s wages

4. That Dctendant respectfully |"iles the instant application wherein eha
states itt her A[Tidavlt. She had been paying $SU.DO per month pursuant to the stipulation
for a total cf !ESUO.UO. and tltat an additional $il'tlt].UO has been garnished l`rom her wages

5. That on i"eltruar}' 4_ `§£UIE`=. l spoke to Det`endant and reviewed various
documents including the complaint (Sec Esltibit {i)

Page 19

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 20 of 110
' “ttt*`*“""`*"”'l“h“at`"l)°e”f'"eiidditt` illicit "li`é"ea"m"'e" aware that she was lruled i`or all€t§.*¢"l mmi-l

from Jnly 2006 to November 2006. however._ l)et`endant stated and provided
documentary proofs that her (i`] lease expired on April 30. 2006 tSee l§xltibit l}}. l 21 film
paid rents through Jurte 2006 (See l§xltihit E}_. and (3} moved into an spun-mem With the
New Yorlt City iiousing Authority (NYC]-lA) in .lune 2006. (See lishibit F)

'?, 'l`hat Det`endant in her Answer filed with this court stated that she disputed

the debt and the defense ol` unjust enrichment
S, 'l`hat this matter is an emergencylF in that my client’s check is being
garnished For a debt that she does not owe, and in l"aet l`_`)efendant is entitled to a refund ot`
$500.00 she made pursuant 10 a stipulation and 3900.[}{] for the garnishment ot`
l)et`endant`s paychecks
9. "t`hat no prior application has been made t`or the relief he.rein.
WHERE-FORE, this deponent respectfully prays I`oran order directing that the:
(a) vacating and staying1 el'l`et:tive immediately the executitnt and
enforcement ot`ajudgment dated Septernber Z?, 2012 and vacating
the terms and conditions ol" a stipulation dated January ,i. ?,tl|l
against Det`endanl;
(h) vacating and setting aside the judgment against the l.`.let'endant and
placing this matter back onto the court calendar and permitting said
L)et`endant to serve and tile an answer, upon the ground that
[)el"endant has documentary proofs that she is not obligated to pay

this alleged deht;

(e) granting ot`saeh other and l"ttrther relief as to the Courl nu'w seem

just, reasonable and equitable

ALBERTO 'l`t')l{RES-t ESQ.

l_`)ated: Brontt, l‘~lew Yorlt
February 'i', 2013

 

Page 20

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 21 of 110

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Det`endantt`s`)_
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COUN'[Y OF 13 l{(.`ll\l .5{ l

ELUI.AB ETH Al.iBIZLJ, being duly sworn._ deposes and says:

l. l arn a named Dei`endaot in the above referenced ntat'ter.
2. 'l`hat on or about .la_nuary 2013. ireviewed my paystul:: and discovered that

my employer was garnislt.ing my wages for some unknown debt. l was told that the
gantishlnent was l`or the matter herein and immediately retrieved a copy from this court ol`
an .lncome E:tecution Notice dated Octohel' ID, 2()!2 showingl that .Plaintit"f was able to

get a judgment against me l'or $6`029“53. (See Exhihit A)

3. That l consulted with an attorney and told him that my payroll check was
being garnished_. although ll was ranking payments {See h`:\'hibit 13_} pursuan m a

stipulation with this court dated .ianuary 3. 2012_ (See Eshihit C]

rt. That in reviewing the eontp|aint_. my attorney advised me that the lawsuit
was t“or unpaid rents front .luly 2006 to hloventher ltlt}ti, when in i'act i had alreadyl

vacated and surrendered the apartment. eyes E~¢ltdri)f G\)

5` fI`hat l have a meritorious defense in that l had no contractual obligations

Wmi lite Piairltif`f"herein who misrepresented in documents died with this court that they
F’age 21

Case 1:16-cv-O2134-ALC Document 86-57 Filed 08/18/17 Page 22 of 110
are -. entitled to rents f‘or July 2006 through Ntweinber 2006 when in last (l} my lCmW

expired in .Iune 2006. {$ee lishibit D`)_ {".?.} l had paid rent threadh june 2006 and gave nw

- t . . _ ' ,. - - =». `New
landlord my security d@pijsli {Sge Exhihii }_~,) and [3) moved tate an apartment at tht

Yorlt Cit_\7 l‘lousing Authority (N'Y'C`I"IA) in Junc '.Zt)tlti. (See Eshibit l"`_l

6. Tltat l do not owe this alleged debt because l had no eontraetual agreement
obligations with ]’laintit`li and the signing ol' the stipulation under lill-‘i\°-`- I-"l'@i"-`lnSCS and

judgmth against me should be vacated so that l can defend this ease on the merits

7. 'I`hat as l stated bel`ore, l vacated the apartlnem, paid my rent and
surrendered my seeu.rity deposit to Plaintifl`in 1lone 2006, and moved into an apartment

With N Y(_`HA.

tit Therel"ore. l request that this court vacate the stipulation dated _lanuar},i 3.
2012, and judgtnent. dated Septenther 2'?, Etll.?, and give rae an opportunity to defend

myself on the grounds that l did not owe Plaintll`l`any rents subsequent to my vacating the

apartment.

9. That I would also request that this court order f’iaintil"f to reimburse me
$500.0() I paid pursuant to the stipulation and $90(].00 that has been garnished front my

pay through .l.anuar_t,r 20] 3.

l{l. lt is also requested that the court order a stay on the garnishment ol" my

wages pending the final resolution ol` this matter.

ll. That no prior appiieation has been made for the relief that Plaintit"`i` request

herein.

WHER`E`.FC}RE, it is respectfully requested that this Ceurt grant the relief

requested and t`or such other and further relief as this C.`ourl deems just and proper,|:ll 22
age

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 23 of 110

"---' _. _\.‘\'.'F.. .

   
   

mm ank, mw 1ink
February "'+ 2013

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EL]z:'k`BiIZ¢'-l§l IYA:LIBIQU s 5

Subscribed and swom to before me
on this 11 day QfFebwmy, 2013

 

NOTARY PUBLIC

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Qua|ified m Bronx Gnunt; 20 11
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F'age 23

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 24 of 110

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C`OUNTY OF BRON)\.'

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SERVJ`C'E
ELIZABETH ALIBTZ.U ACEVED()_.
Dei"endanl{s}_
-_ _____ _____________________________ j{'

 

STATE (JF NEW \;‘(}Ri~'l '}
`] es.:

COU`NTY ()F Tl'-ii§ BRONX )
S£JRA`Y'F~. CAKABAI..LCL being duly swank deposes and saye:

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in the State ei." New Yerk. Coumy ofNew Yerk.

(.'Z} ()n the q'?iey oi`,i"e`bruer},r, 2013~ deponent aerver.i the within NOT[CI[E {J["
MOTION ` to the Allemey(s) et their designated eddress{es_):

GARY KAVULICH. ESQ_
KAVULIC.`[-i. 3a ASSOC`.IATES, P.C.
131 Westchester Avemle~ Suite SOUC`

Porl C`.hester, New Yerk IOS?`S

VIA FlACSIMl`LE end BY DEPOSIT|NG in a peel c)'fi'lee er of`i`lcia.i depository under the
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S:Jraya Cul'a|)a-`rl'ie
Subsel'ibed d sworn 0 before me
on this ?A'€\\day of Wj; . 2013

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Page 24

 

 

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Case 1:16-cv-02134-ALC Document86-57 Filed_08/18/17 Page 25_0f 110

Page 25

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 26 of 110

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Page 26

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 27 of 110

Page 27
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Case 1:16-C\/- -02134- ALC Document 86- 57 Filed 08/18/17 Page 28 of 110

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CaSe 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 29 of 110

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Case 1:16_-cv-02134-ALC Do_cument86-57 Filed 08/18/17 Page 30_01°119_

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Page 30

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 31 of 110

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Case 1:16-cv-02134-ALC Doc_ument 86-57 Filed 08/18/17 Page 32 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 33 of 110

Page 33 _ __ __
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 34 of 110

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Case 1:16-cv-02134-ALC Document _86-57 Filed 08/18/17 Page 36 of 110

 

 

 

   

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Page 36

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Case 1:16-c_v-02134-ALC Document 86-57 Filed 08/18/17 Page 37 Qf 110

 

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Page 38

 

_ CaSe 1:16-C_\/__-Q_2_1__3_4_-ALC __ |_I)_c_)g___u_ment 86-57 Filed 08/18/17 Page 39 of 110

F_Ihibit G

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 40 of 110

C'WIL COURT CJ'F T|'{E C`I']"Y O`F NEW YDRK
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Del`mdam(s]

 

To the above named defendants (s):

YOU AR.E HEREBY SUMMGNED to appear at me CWI[. COUR'I` Ol'-` `I‘HE Cl'l`Y' UF
N'EW YC‘RK_. CDUN'I'Y OF BRGl‘-Dl at the office ul`lhe clerk ofth said Court 212 85 l Graml
Co:\com‘se, Bronx, N"r` 1545 l, in the COUNTY DF BRONX, Slatc ol`New "1'“01'1»:, Within tim
time provided by law as noted below and to tile an answer in 1112 below complaint wllh _ 1
clel‘l<.* upon your failure 10 answer, judgment will be talch against you l`or t `
with interest thereon from luly l, 2506103111]1¢1' with costs of this action

DMED: 1111y1.21)11 _E P_AW

 
   

_NL 1 5 155 l{a\ ulic.h & Assuci.".nes, P. C.
f Arrornc§' for Plairnifl`
C[\T§L (..`-"1.. __~jb_'________r 131 Wcslchestc:r A.vc mm
C.D Suite 555'5
BRONK mm chemer, 2212 10523
(914) 355-20'1'4

Dr=fendant's Adclres§:
Elizal)elb Alibizu Acevedn
8 ll E. l&j’th S:rcc~.r.', Apl. 25
anx, N‘¢’ 15459-2771

`anc: Thc law provides that (a) ll;`l.ll¢ suIILn:mns is served by it$ delivery m you p¢m¢_-,muy
within the City ol`Nuw York, you must appear and answer within 'I`WENTY days alter such
sen'icc: or (b) It` the summons is served by amy means other than personal dclivm.'y m you
within the Cily of bch Yorlc_ you must appear and answer within THIRT':’ days alter proof 01`
service lhwch 15 filed with the Clerk uflhis Courl.

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Page 40

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l Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 41 of 110

COMPI..A.INT

FIRST AC§§IQN: Ptaiuriff` seeks to recover damages from defendaot(s} for breach of a lease
agreement in the sum ot" $3.993.91 representing rental arrears for the months ot`.luly, 2006
balance o‘l' 5399.')'9; August, 2006 through and including ‘ul'overnber, 2006 at the agreed
ntcntthlj,r sum 01‘3393.53 for the premises known as 2246 chster r’*ttrenuc1 Apt..”iri Brona, i“~l"f

1045? together with costs and disbursements of this action and for such other and tanner relief
as Lhc conn may deem just

SECC\ND &QTIDN: Plaintit‘t"seelcr to recover damages from the defendant in the sum ai

$6[]9.0[} representing damages together with costs and disbursements of this action and lot
such other and further relief as thc Court rna§,l doom just

THIRD ACTION: Plaintiii" seeks to recover damages from the defendant in tho sum of

$5[}0.00 representing reasonable attorneys fees together with costs and disbursements of this
action and f`or such other further relief as the Court may deem just

WHEREFDRE_. Plaintiff demands judgment {A) on the l-`irst Actiott, in the stan of $3,993.91
plus interest from Iuly |, 2006 together with costs and disbursements of this action and li`tJr
such other and further relief as the Court may deamjust, (B] on tire Sccond Action, in the sum
of $6{}0.00 plus interest from lon 1.2006 together with costs and disbursements ot` this
action and for such other and further relief ns the t_”.‘ourt may deem jusl', [C') on the `t`lard

tactical1 in iltc sain of $SDD,DU together with costs and disbursements of this action and for
such other and further relief as thc Court may deem just

 

Thc Plaintift` in this action is NOT required to be licensed by the ch ‘t‘ork City
Dcpartmcnt of Consumcr Affairs.

 

".=“`.»'”“'

CaSe 1:16-CV-02134-ALC Docu_ment 86-57 Filed 0_8/18/17 Page 42 o_f 110
CIVIL C(J LFR'I` ()F "I`HE (L‘I‘I`Y {)F N 1£W Y{)Rl~i
COUNTY OF BRONX

index Nn. 4372{!-?.|}] l

 

 

1246 WEBSTER AVENUE I‘IDFC,
Plaintit`f{s.),

-agaiust-

E`LIZABETH AL[BI'LU ACEVEI]U,

Dcfendim l(s).

.ki

 

ORDER 'I`O SH{]W CAUSE

ALBERTU TORRES, ESQ.
629 Mclrosc Avnnuc
Bronx, `New `York 111455
Tel No. (?13) 620-0106
Fax No. (?18) GZU-I}]tl'?

AT'I`()I{N EY I?UR DE`FEN l}AN'[`
ELIZABETH AI.JIB]'ZU ACEVEDO

 

Fur:unul to 21 N\»'{:th l]l]-l.l.. the mldcniiglml. llrl llltDl'm'}' admitted lu phl¢lir:c in lim courts of ,\.'g“- 'furk :._;¢"u.\ coming mm
upon infurnmtion and br|lv:l':lnd reasonable inquir_\', thc contentions contained in tlll.~. amgen-d duggth nrc nm rrivnl,uus‘

W_
bmc.d: !2' " 1 "' 201 g SEgnatm'c

Signcr’s Namc: ¢|hegto T¢Jrrg§, §1$1|.

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 43 of 110
etvtt, eott`RT DF THI_~: Ct'l‘tt OF NEW settle '

C.`UUN`I'Y UF BRONX
_________________________________________________________________________ j»(
2246 wEBsTER AVENUE t~tt:)t=e. lndv--‘-< Ntt- 4373'-*'3"' 1
Plaintiff`.
nag:tinst-
AFFI|)AVIT (}F
SERVICE
ELIZABETI'I ALIBIZU JXC.EVEDO-_
Det`endant(s).
_________________________________________________________________________ X

STATH C)F NEW YOR.H. )
) ss.:

L`_`OUNTY {")F `I`I'I_E BRUNX `J
SOI~?.A.YA CARABALLO. being duly swem. deposes and says:

{t`) Depene.nt is not a party to the action and is ever 18 years of age and resides itt
the Stztle of New York. Cetmty 01:` New Yt)rk.

{2) Ot't the 'E,D""UH)' t)i" Februst')r 2013. deponent served the within OR.DER "1"{`}
SH`OW C`AUSE._. j-'t.ttomey Al`firmation end .'l.["ltdzwit to A'ltt)'rney(s) at their designated
address{es`]:

GARY I<LAVULICI-L ]:`£SQ.
I§AVULICH cit ASS(JCIATES., P.C.

131 Westcltester Avenue. Sutte SUUC
Pert Chester. New Yerk 105?3

VIA C_,`.ERTIFIEI.} MAIL mut RETLJRN RECEII"I' REQUIESTIED in s post ofT`tee or ot`t"teizlt
depository under the exclusive care et`the Unit'er;l Stat.es Pt)stal Serviee within the State ol" New
Yen“k a true copy thereol 1n s properly stamped envelope addressed m the individua]t;

addresses stated. 31 the

,/Qst\e §@s;>§`)

Sor'aya Cfal‘al)amj

Subseribec nd swom 0 before me
on this 1 day of 013

      

  

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NCJ.O‘| TO!thBF.tEEi

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G¢>mrntssimn Exptirss Js.nuar§r 2'¢`\20

NOTARY PUBLtC sage 43

 

 

 

 

Case 1:16-c_v-02134-ALC Doct_tment 86-57 Filed 08/18/17 Page 44 of 110

CIViL COUR.T OF 'i`l'iE CITY OF N]EW YUR.K

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2246 W.EBSTER AVENUE, I-lDFC,
lestimate
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§FFIRMATI.ON l`N DPPOSIT]ON 10
DEFENDANT"S ORDER 'i`O SI-IOW
C_A__EUS ‘.
ELIZAIBE'I.`I'[ ALIBIF_‘.U ACEV EDU,
ljefentiartt.
--. X

 

GAR.Y M. KAVULICH, ESQ., an attorneyr duly adriiittecl to practice law before the courts of
the State ol"Ncw York hereby affirms the hollowng under the penalty of perjury pursuant to CZPLR

?.liltil

l- l am an Assoeiate ot` the law firm ot` i{avulieh tie Associates, P.C-, Attomeys for the

Plaintif`i`herein, and as suc.lt, I am fully familiar with the facts and circumstances of the within
proceeding except as to those matters stated to be based upon information and heliet`, and as to those

rnatters, i believe them to be true. '1`he basis ot`rny heliet`is information furnished to me by my ciient,

information contained within the cottrt`s tile, and information contained within the files as maintained

by your At"iirmant’s office

2. l make this affirmation in opposition to the Det`enclant‘s instant Oztler to Show Cattse
which seeks to stay Plaintit"f'"s execution measuresl vacate the i’arties` Jantlary 31 2012 Stipttlat'ion, and
restore this matter to this Cottrts calcndar. Please seattle Defend:mt"s Ortler to Show Cause annexed
hereto as Exhibit “l ."

3. Your Afiilniam respectfully points out that on J`anuary 23, 2013 Det`entiant filed a pro-
se motion seeking to vacate the judgment and stipulation in this matter. `i`hen, on Februzu‘y 7, 2013

.Defentlant retained counsel who submitted a suppietncnta] motion seeking that same reliei. Plaintii"t'

”t/

Page 44

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 45 of 110

. ' ., ‘ l 1 :':\ -' 5 " l t " t r}‘.
now opposes that Fehruar"y 27, 2013 motion and addresses the items raised tn .Dclcndant s .l¢uur'tl_t ~3'-

2013 motion_

saw

4. 't`he within proceeding was commenced against Det`endant to recover rental
arrears in the amount of $3,993.91_. and 5600.00 in damages due and owing by Dcfendard 10
Plam[`iffPUfSt-ltlrlt to the Parties’ rent stabilized lease agreement for thc premises known as 2240
Wehster Avenue, Apt. 34_. Brons, NY 10457, Plcase see the Parties lease agreement with
subsequent renewal annexed hereto as `Exhibit “2." Annexed hereto as fixhihit “3" is the affidavit
of l`-‘laint:lft"s managing agenl, Tara Greltulalt.

5. 'i'he original lease agreement Was for the period commencing l\»‘iay l, 2003 and
through and including Apri.l 30., 2004. Please see the aforementioned E:-:hihit "*l .“

6. 'l`herealier, the Parties executed and entered a two {_2) year renewal lease thereof
for the period commencing l`t/ia}r l, 2004 through and including April 30, 2006.

'F. As the end of that term approached, Plaintit"f sent to De.fendant a lease renewed
agreement to which Defendant failed to respond Please see the aforementioned Exltil:»it "`3.“

3. Despite failing to respond to that lease agreemen.t, Dei`endant continued to pay
rent through June of 2006. Please see the aforementioned Es.hihit “"3." Please see Plaintit't"s
tenant ledger annexed hereto as ]E.\thibit "‘4.” P lease see Dcl"cndant’s affidavit

9. I'Iowever, Defendant did not vacate the premises until on or about Augttst' 5, 2000
Please see the aforementioned E)r hibit “3_“

10. Therel"orc, pursuant to the Parties“ lease and the laws of New York Whieh govern

rent stabilized leasesi'tenaneiesl Defendattt satisfied thc conditions of a deemed renewsl_

{2] Page 45

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 46 of 110

l i. ns pursuant to Defendant’s vacatur, Plaintit`t` sought to mitigate its damages
through the application of Dei`endant`s security deposit to the arrests balance owed and through
the re-rental ot` the subject premises in Decernhen 200& Plcase see the aforementioned E.`sllibil
-.3“

ll 'l`henet`ore, Det`endaut is liable to l’laintifi` for rent i`ot' the months ol"July_. 2006
balance of $399,?9; and Aug'ust 2006 through and including Noyelnber 2006 at the agreed upon
monthly sum of $393.53. `Please see the aforen‘tentioned lilxhi‘oit. "3."

13. Plaintit"t`commenced this action seeking to recover those monies on or about .i`uly

14, 2011. Please see the strenuous and complaint annexed hereto as Etthibit "`5."

14. Def'endant interposed a_n answer on or about November .'21_. Zill l. P'lease see
Det`endant’s answer annexed hereto as lE-xhil:»it “ti.”

15. Thereafter, at a pre»trial conference ot` this matter on Js.uuary "_i, 2012, by way oi` a
So-Ordered Stipulation, the I’at'ties hereto settled this matter in the sum of $2,000.00 at the rate
ot` 350.00 per month until that sum had been paid in full. l’]ease see a copy ofdtat Stipu|ation ot`
Settlement annexed hereto as Eshibit “.“?

16. A.lso per the terms ol` that Stipu]ation ot"Settlementt Del"endant agreed that in the
event she should default on that settlements Plaintifi` was entitled to judgment in the l"ull amount
ot`Det`endant’s arrears balanee, $3,993.91, less any amount paid_. with interest thereon l`rom. Jtlly

1, 2006. Please see the aforementioned E)thibit "6.” P]ease see the aforementioned ]`;"lxhibit “2."`

l'l. liurtlter, upon Defenda.nt:s defaull, P|aintil`t` was to provide to Del'endant With a
notice of default and lU-day opportunity to cure said default. .Please see the aforementioned

E:-thibit “'.l',”

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P'age 45

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 47 of 110

13. Pursuant to the Parties‘ stipulation l‘laiutift` collected $.'200.00, `Please.see tll¢
aforementioned Exh_ibit "‘3."

19. However., Defentlaut defaulted on that stipulation on at least three occasions
P'lease see the aforementioned Exhibit “3."

20. Pursuaur to the stipulation i*taintit’t` sent to Det`enclant the requisite default
notices. Please see those default notieea annexed hereto as Exhibit "S."’

21. Therea'|.'ter, upon De'|"eudant’s failure to oure her default for the mouth ot`.luly,
201 2, Plaintit`t` submitted foi'judgment against Defendant in September, 2011

22. J`udgment was entered on Septemi:)er 2?_. 2012. Please see a copy ot` that judgment
annexed hereto as Ealiibit “9‘"

23. Thereaftor, Plaintift` commenced execution measures and suet:essi"ull}r collected
‘£934.81 toward the satisfaction ot`lhat judgment P.lease see the aforementioned Exl'til:iit "3.”

24. Therel"ore, IJei`endant owes $5,!]44.72 to Plaintit"t` toward the satisfaction ofthe
judgment balanoe. Flease see the aforementioned Exhil)it ‘*`9."`

25. Deiendnnt then filed her instant i)rdel' to Sllow Cauae seeking to stay the
exec ution measures and restore this matter to the calendar. P]ense see the aforementioned Exhi bit
al

26. As the final judgment taken against Det`endaut is both valid and has not been

satisfied, Plaintift' now opposes Det`endaut’s instant motion

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Page 4'?

-Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 48 of 110

consonant rtgt_s 'FAI;Lso '.ro sister run staunton eeo time 1) ro vacate riot
stipulation

 

37- Stipu|at.ious entered into in open court are favored by the courts and are to lie 561

aside only Where there is cause sufficient to invalidate a contract such as t"raud, duress, COilLlSiOH.-
er mistake east a stems corps rees Nr slip op miss tea nepa 2009]; Hefl@vt a BRUM-
64 NYQd 224 [1934].

23. Det`endant. has failed to provide to this C.ourt with an}r basis upon which to grant

her motion, as there is no evidence of t`raud, duress, collusion, or mistake

29. Plaintit"f has duty demonstrated that the Pt-trties entered into a rent stabilized lease
at,rreemerttJ duly executed a subsequent two year renewai thereof and then a third lease was
deemed renewed upon [Jefendent’s failure to respond to Ptainti[]”s lease renewal request and
continue to pay rent through .hme, 2006_. and then vacate the subject premises on or about Augusl
5, 2006. Please see the aforementioned Exhihit “3."

30. Plaintif.f commenced this instant action to recover monies owed to it resulting
from Defendant’s breach of the Patties’ agreement

31. The Parties then entered into a ralid So-Ordered stipulation wherehv Defendant
MMMMMM.

32. To this eud, Plaintiffqnestions u)h§"1 if Defendant now claims that she does not in
fact owe this deht, she would have previously admitted to cuttingl sueh.

33. At all times Plaintiff complied with the stipulation by duty serving Defendsnt

with a notice of default and opportunity to cure upon each instance of Det`eudant‘s det`autL

P[ease see the aforementioned Exhihit “3.’°

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Page 48

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 49 of 110

34‘ Pursuant to I.`)efendant‘s breach_. Plaintitl` then toolF legal action to which it was

entitled as determined in the Parties‘ Stipulation and obtained a judgment against the Det`endant

in the amount Ol'lh@ streets it owcd_. less the $200.00 previoust collected hy it, with interest

thereon from lilly l, 2006l Please see the aforementioned Eshibit "*9."

35- Det`endant in her .`lanuary 28._ 2013 Orrler to Show Cause states that her reason for

not GOmplying with the stipulation is that "[she] was having some tinanci al problems and [shc_l

wrote a letter and sent it to [Plaintil`t] to [explain] her situation and give l`lter] au opportunity to
pay when [her] financial situation [iniproved]. Please see thc aforementioned Es.hihit "l

3ti. This assertion is patently false as Plaintif f asserts that Defendant did not send the
letter referenced by Defendant, Please see the albrementioned Exhibit “3."

3?. Wtu`le Ptaintiff remains sympathetic to any financial difficulty which Defendant
may have experienced or is e:»q;iericncinjss Plaintiff submits that the law entitles it to have its
judgment satisfied

38. Incleed Plaintit`t`has expressed its sympathies insofar as Defenclant defaulted on
the stipulation in Juiy, 2012 and Plaintifl`did not submit t`orjudgment until Se])tcmber, 2012.

39. Further, Defendant has failed to demonstrate that the `Parties` stipulation is based
on fraud, duress, collusion or mistake

40. As I)efendant has failed to set forth a basis upon which the farties" stipulatiou, in
accord with Dz.‘tn‘ and Hr.rlt'oclc, this Court must uphold the instant judgment and underlying

stipulation

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Page 49

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Case 1:16-cv-02134-ALC_ Document 86-57 Filed 08/18/17 Pag_e 50 ot 110

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41- Th¢l'\‘~`fm$s Plaintifl" respectfullyr requests this Court to den}r the instant motion in

all respects

WI~IEREFORE, as nc- legal or equitable basis has been stated or exists, Plaintili"

  

respecttirlly asks that this Court denyr the instant motion.

Dated: Port Chestet, NY
Febt'uar'y 27, 2013

 

Gat'_~,r WKavuliclt, E:st].,

.Kavttlich dr Associates, .PtC.
Atto'rneys for Plaintif`t`

131 Westchester Ave., Suite 500C
Port Chester, NY 10573

F'h: 914-355-20?4

Fax: 914~3 5 5-2073

t?l
Page 50

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 52 ot

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conn t tr oF aao.t~tx RHBF§H,,
date Wetsstiaa avenue nose mo ".
institution names nrd snow cause
against-

'o jt
index No. 43?20-201l -" ij

ELIZ.ABETH ALIB[ZU ACEVEDO,

s ts tomorrow tn Sgsseret term
Ct"m l.'j¢mz't Cltt:;' of NT--Br'o:aa Go»t:¢t'j
DEtoodootio)‘ For woman and ditto-mayo to .
_" o ‘*“ ----- `l{ h i.‘.oen*t on me horn hieth flow
l v Bmd m C\'B£*BE W MF_CM

Upon reading and filing of the annexed Al`f`trmation of ALBE,R'I`O TORRES. ESQ- dated

Fel:iruarj,r '?. 2013 and the Al"fidavit of E]`_,IZABETH ALIB[ZU ACEVEDO, sworn to:on thd_"

?"‘ day of February, 201 3, and upon all pleadings and proceedings heretotiore had herein:."""_'_`

§`.`;` 54
LET the P|a.itttit`t`, or their attr.)rneys1 Show' Ca.use before the Civil Court at PA\RT m
noorvt H, ta tie here st the courthouse reason st ssi casino eor~tcounsa, `ettor~tx.

NEW `YURK ON TI'{I¢.`. f f Ji“d't DAY OF MARCH, 2013 at 9:30 a.mi or as soon thereafter

as counsel may be heard WHY an Ordcr should not be entered directing the following relief:

{a) staying, effective imtncdiately, the execution and enforcement ol" a judgment

dated Septernber 2?, 2012 and the income lixecntion dated October 10, 2012 against De.t`endant;

(b) vacating and setting aside the terms and conditions ot` a stipulation dated lanuary
3, 2012 against the l}et`endant and placing this matter back onto the court calendar and
Pm_mming Said Defendam m gem-5 and file an answcr, upon the ground of excusable default and

meritorious defense;

(c_) granting such other and further relief as to the Court may seem jogr, r@m_;c,nag¢g

and equitable

Page 52

_Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 53 ot 110

ann sentiment cause ar'rsaanto rt-t.sttssona. rr rs n.earsey:

ORDERED, that all proceedings orr the pan et the Ptsrnatt'. trainest attorneys C`-it:r
lvlarshai or any other collection agency1 be hereby stayed and directed not to enforce or execute

on the judgment dated Septernber 27, 2012 in any manner whatsoever'-.

O`RDERED, that Det`endant’s employer is to cease and desist front respondng 10 ih"~`
income Execution Notice dated C)ctoher 18, 2012 issued by G'AR"t’ ICAV ULIC`H,ESQ.= a.rttl to

discontinue garnishment of Defendant’s paycheck until further order of this court1
‘-"-E hib“i¢“f¢'~“i m*c)trl Wr‘l‘lq 4 d
r“ee_i-mv_r"r rtcec“;<ert:ri“ -.'"¢_=_-_c:.,r_r '_=s co

ORDERED: that 561-vice by ll ' O‘}_" g ggpy Of-" this Orde.r together

   

with the papers upon which it was granted upon P|aintit`i`s attorneys, GARY I<LA.VUthjl-i.
ESQ., KAVUI,ICH de A.SSOCIATES_. P'.C.1 181 Westchester Avenue, Suite 500€, Port Chester._
New Yorlr. 105?3, Telephone number (_914) 355-2014 and Fax number (_91-’-1`) 355-`.?.0'!3, orr or
before the __L_?._E day ot` Fcbruary, 2013 and filed with the Clcrlt of this {`Jourt on the return
date he deemed sufl`ut:ientl

Dated: `Bron:t, blew "[orl~t
February . 2013

§§ t 3 2013 ENTER:
PRC*OF DF SERVICE SHALL BE FlLED

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on rae aeruari<dii:r§',`i',”- flouer

 

 

F'age 53

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 54 of 110

CIVTL C.`C}I_I.R'l` OF nf`l-'lle` C`l'l`Y OF NEW YURK
C(JUNTY C)F BRON`X

______,___---_-_“.__.-..---_.--c-_,___-s__.__e__--------W--X

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Plein'tiff_.
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srstzaes'ru antonio acsvs.oo,
i.`)elendant(s`}.
-.-"...---.--.--_-- ..... X

 

STATE OF NEW YORI{ l)
county or snon)t isa

¢'~.LBERTO TOR_RES, an attorney duly admitted to practice law before die Cfourts
of the State of New Yorit, pursuant to CPLR. § '2 106, under penalties ol" perjury_. affirms
as l"ollows:

l. l arn the attorney for lil.|ZAB]?.'I`I-l A_LIBIZU_. Det`endant in the above-

captiorred matter and as such I am f`ully t`an‘tiliar with the facts and circumstances of this

Case.

l .[ respectfully submit this Afiin‘natlon in Suppnrt of Del"ttntlsnt’s
application herein.

3. Fl`hal upon information and beliel', in or about .|a_nuary 2013_* L)@,f¢ndm“_

who was not notified by her employer that they were served with an lncome Ea'ectttion
Nolice on ajudgment dated Septembcr 2?, 2012, realized that her employer had started
garnishng Defendant`s wages

4. 'l`hat Def`endant respectfully files the instant application wherein she
states in her Afiidavit she had been paying $50.00 per month pursuant to the stipulation

for a total ot`ZSSDU.OLi, and that an additional $9{)0.00 has been garnished from her wages

5. That on February ri, 2013, l spoke to Defendam and reviewed Varimls

doetunentsr including the ooi:n.plaint. (See Exhibit Ci}

Page 54

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 55 of 110

ti. 'Htat Dcfendant then became aware that she was sued f`or alleged 1‘¢1'113

Frorn July 2006 to `Novernher EUUG, howevcr, Deicndant stated and provid-ltd

documentary proofs that bert ll lease expired on Apn'| 30, 3096 (5@€`- E>fhibir Dlt fill Sh*`¢

paid rents through tune 2006 (See E'.thibit E), and (3) moved into an apartlm’»m With lh‘i'
Ncw Yorlt City l'iottsing Au thorit,\-l lNYCHA) in .lune 2006. (See Exltibit F_l

l That T.)efendant in her receiver lich with this court stated that she disputed
the debt and the defense of unjust enrichrnent.

8. 'l`hat this matter is an emergency in that my client`s check is being
garnished for a debt that she does not owe, and in fact Del'"endant is entitled to a refund ol"
$S{ll].tl{} she made pursuant to a stipulation, and $9[]0.00 for the garnishment ol`
Det`et.tdant’s paychecks

9. 'I.`hat no prior application has been made for the relief herein

WHEREFDRE, this deponent respectfully prays l`or an order directing that the:

{`a) vacating and staying, effective itntnediately, the execution and
enforcement ofajudgmettt dated September 2';'_. 2012 and vacating
the tenns and conditions of n stipulation dated Ja.uuary 3, 2012
against Dcl`e`ndent;

{h') vacating and setting aside the judgment against the Det`endaut and
placing this ntatter back onto the court calendar and pertaining said
Defendanr to serve and tile an answer, upon the ground that
Dct`cndant has documentary proofs that she is not obligated to pay

this alleged debt;

(c} granting of such other and further relief as to the Court may seem
just, reasonable and equitable

Dated: Bt'onx, New Yorlc
February ?_. 2013 c

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spasaro roaass, sso.

 

Page 55

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 56 of 110

CIVII., COURT OF THE Cl"i"‘i’ OF NEW YOR.K

COUNTY Oi-" BRONH
sam
Plaintit`ti
-against»

assmato'r tn spencer
sttzasara attaith Acrsvsoo,

Defendant(s).

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S'I`ATE OF NEW YOR.K
ss.

\»,..¢- \..,_¢

counts or sector }

ELIZABE,TI-l ALlBlZU, being duly swann deposes and says:.
l. l am a named Det`cndant in the above referenced matter.

l "l" hat on or about Januar}-‘ 2013, I reviewed my paystuh and discovered that
my employer was gai-rushing my wages for some urdr_nown deht. I was told that the
garnishment was f`or the maher herein and immediately retrieved a copy front this court oi`
an Incornc Exccution Notice dated Cictober 10, 2012 showing that Plajntit:t` was able m

get ajudgmertt against roe lt'or $6_.029.53. (See l:`.:rhibit A)

-»\

3. That l` consulted with an attorney and told him that my payroll check was
being gamished, although I was making payments (See i:`lxlu`hit B} pursuant to a

stipulation with this court dated Jauuary 3, 2012. (See l;`:xhihit {'.`)

4. That in reviewing the contpiaint= my attorney advised me that the lawsuit
was t`ot unpaid rents from July 2006 to Novemher 2006_ when in fact l had already

vacated and surrendered the apartment (','>eaf;¥iuhi’i 65

.S. That [ have a meritorious defense in that l had no conoactua] obligations

with the Plaintifi` herein who misrepresented l`Ln documents filed with this court that then
Page 55

 

Case.1:16-cV-02134-ALCl Document86-57 Filed 08/18/17 Page 57 o-i--»-l--s©»sm.=.s_

are : entitled to rents t`or .i`uly 2006 through Noveznl.ter 2006 when in fact {` ij my lease
expired in lime ?.UOE, {See- Eshibit ‘ll`l)1 [2'} f hadl paid rent rhmug_;i _I unc 2006 and gave the
landlord my security deposit (SCC Exhibit E) md [3} mow-d into am apartment at the New

't’ork City i-Iousing Authnrity (N‘i’[:l{p_) in june 2005 {Ser: I:`.xliibit F)

il i`hat l do not owe this alleged debt because l had nn contractual agreement
obligations With P|sinlii"f, and the signing of the stipulation under false preten$€$ and

judgment against me should be vacated so that I can defend this case on the merits

1 'l`hat as I stated bei.`ere, t vacated the apamnent, paid my rent and
surrendered my securityr deposit to Plajntifi` in .iune 2006, and moved into an apartment

with N`YCHA\

S- Therefore: I request that this court vacate the stipulation_. dated January l
2012, and judgmentt dated September 2?, 2012, and give me an opportunity to defend
rnyseit` on the grounds that l did not owe Plaintii"f any rents subsequent to my vacating the

apartment

‘i'. That l would also request that this court order Piaintift` to reimburse me
$500_00 l paid pursuant tn the stipulation_. and $900.00 that has been garnished ti,-orn nw

psq.r through .lanuary 2013.

'1(}. Ii_ is also requested that the court order a stay on the garnishment of my

wages pending the final resolution of this matter

ll. “1'hat no prior application has been made far the relief that Plajntit`l` request

herein_

WHEREF(}RE, it is respectfully requested that this L'Zourt grant the relief

requested and i`or such outer and further relief as this Court deems just and proper
Page 5?

   

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 58 of 110

Dated: Bronx, New 't’ork
Febtuary 'q- , 2013

 

Subserihed and sworn to before me
an this jl-» day er sssmsry, 2013

%W

NOTARY PUBLIC

 

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NO.URTGAB-?BEES
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Page 58

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Case 1:16-cv-02134-ALC Document8_6-57 Filed 08/18/17l Pag‘e'GO--oi~l-IO

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RESPONSABI`LIDADES UE li\'QLilLl

i*t.`\i DISPONIBLE EN ESPANEJI...)

aner and chtcr ma l»:c this apartment lease agreement ns l'ollo\l'st

Ownet"s f"-`ame:

2246 WEB$TER AVENUE HDFC

Owner`s A.ddrcss for f\'oliccs:_ 660 EAST IBSRD ETREET. BRONX» NY 10453
chtcr's Nnmc:l.` M,§ El_'[i;£§ETl-'l ACEVEDG Snci:il Sccurlty iii__5_|5¥_{.')_5......w

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Sncinl $cl:urity #:

 

 

 

chtor*sPrcscntAddress:`MMmM_ AP‘T.35. ignoer NV 10457

Ar[drossol`l"rcrnisos to Bc Rtntcd: 2246 WEB$TER AVENUE‘ BRONX* NEW VORK 1045?

Al"~ NO»= §‘-'i “I`crm oleiis l.c:i-tc (t"!iecltnac): Q{ l year 13 Byc.':irs '°ii\lr.»i:itlil.;.l itemst

Dnlc of Leasc:_n§mioa_“,_

Bcglnning:__g§j 01/133__,___

" llc preferential tcm is being chargcd, thc amount oftltc preferential rent is set ti>rili in thc zn.lchcil ridcr.

l.HEADtNG$: l'aragrnph headings arc only lot rcch tcl'ctcncc
in lhl: terms ofthi$ leasc.

.?.C'ONDITION ‘“A.S IS“: liench acknowledges inspecting tlic
apartment prior to signing this lease and accepts the tparlmcnt in
thc condition n is in as of such inspection chtcr acknowledges
tlut thc apartment is l`rcc of dcfccb. Owncr warrants that the
apa.rbncnt and building arc tit l'or habitation and there erc ne
rondilitms dangerous to hcilth. life m safety

B.USE ANDDCCUl-'M\'CY (JF APAR'I'MENT: Tlii: apartment
is tn be used and coo.ipicd'l`cr private residential purposes only. as
thc primary residence of chlcr. Thc apnrbncntmtiy bc occupied
billy by Rcmci' named in th is li:a.'.l:, chlcr‘s inunr.dillc l‘n.ltlily. or
other occupants itt accordance with the applicable p:'nvi.'.it:rl'ltI of
lawn Rcr'iicr agrees limit the apartment w ill bc occupied only by thc
following individuals1 in addition to ltcntcr:

~s massman-se i.l"’_s!t._~_m
:'Sohor'o Acevedo ~37 houghton
E|[;gbgh Acevedcim§ D_qggh‘l'er'

chtcr ic obligllcd to advisc Owncr. in writing, italy additional
occupant moves into tile apartment Snch notice nnisl lie Pumis|'tcl‘l
by Rcritcr to Dwncr within lt] days of lite dale such additional
occupant moves into thc apart:n:nt, 'ilic apartment may not bc
occupied by more than the number of occupants pchniticd by
§27-2075 oftln.-. Huusing Mcinlcnaltuc C`odc int b)' §le-l'ol'lhc
Rczi Propcrry [.aw. whichever l.1 Ic¢s.

d.R.EN'I'ER'S `PDSSE$SI{JN DFAE'ARTMEHT: Ownc.'l lth\il
not be liable lot failure to give chter possession oftltc \p:rlmcnl
enthc beginning dry of!hc lease term item shall bc mullins of
thc beginning ol` lltc term unless Clwncr is unable to give
possession in which care rent shall bc payable n of llic date

days ot' thc beginning day ul' the lease icnri. lf nct, anlcr may
cane cl this lc:isc and obt.¢ in a refund cfmoney deposited Owncr
will notify chicr:ls oft!lotlatc possession is availablel Thc milling
date cfthc lease-term will notclu npc in the cvd'nt Owner is unable
tu give possession as ofthc beginning ofthc lcasc tccm.
S.RENT, llcl]}'.`ll!\`l R.ENT, REN'I` ADJ'USTMEN'I`S: #.cht
payments for catch month arc doc on or before thc first day of
tacit month tit lite lddtcss above m at a location designated by
Owncr in wn'ting, Noticc from Dw:ucr tn ch:ci that ran is due is
not rcquirccl. Tlic rciti most bc paid in full without .t:li.-dv.:r.-ti»:insF
Tlic first mnth'r rent and addctl rent mt bc paid when chtcr
signs this lease b-Rr.Mcr may be required le pay adm charges
and fccs to Owncr under llic terms cflhls lem. Thcy nrc called
"¢_ddctl renl.“ Tliis added rent will bc payable 15 rcnt, together
with lhc‘ncxt monthly rent duc. |f chtcr fails to pay thc added
tent on ¢:mc, Clwncr shall have the acme rights ¢g\iti.tt Rl:nl¢l is
if chicr_ failed to pay rcnt. c.ll`thiii apartment i:r subject to thc
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lease may bc adjusted prospectively or rcirmctivcl _ munoz in
an order of thc N=w York omc Divicion of curing md
Communlt_?kcncw:l tDl-ICR}. chicragn,-¢¢ te dc hamby-men
determination and lo pay my inc-icm in mg in nw mr
specified by the zgcncy. in thc cum the applicable mm guldclim
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date thc lease ucxccutcd. thc rent provided l'o¢ in this knee may
bi- mcn:asccl ordecruascd retroactively to thc commcncmicnt dnc
ot‘ thc lease consistent with orders issued by the RGB ltdch
scm ns defined herein shall include but is not limited lot

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 61 Oi-~l~it}'c~'-W~~
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pinto resides or will reside in the unit, the nWr mm building le required to perform on annual VIBH”"
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llrl tr'l the unit. you should also inform tito owner immediaton at the address below if Yor.r notice
am Naimg pdm °" dummde aubaurfnees in the unit during the yeor.

Pleese complete this lorrn and return one coinr to inn owner or his or her agent or representative
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roonrcls. ‘i‘ou should also receive a copy of a pamphlet developed by the New York City Dopartrrlont
ot t-loalth explaining about lend based paint hazards when you sign voter lnnee!eommenen neelmene-,'.

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31 A child under six years olano does nol reside in the unit

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Page 61

 

    

 

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 62 of 110

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judgment is obtained against lti'trt. Dwntrr may enforce the
judgment against my property or assets oi`Rerttcr, wherever they
are located

4G,MLITARY STAT‘US: Rttnter represents tim itc is nut in the
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 63 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 65 of 110

CWIL C()U R"F OF 'l`l‘-iE. CI`T":’ OF B`RUN.?{

 

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- _____________________________ x F}LJE N(). |33l7
2245 WEBSTER. AVENUE. l“ll)FC_.
Plainlil`t`, M _
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[`Je!"endant.
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l1 'l`ara Gt'ekulol<. beingl duly sworn deposes and noys:

l. l am the managing agent for the P|aintil’l`, 2246 WEBS"{`ER AVE`NUE_. l“l[)l~`C.
herein, and tie such l am l`ull}’ familiar with the facts and circumstances ot` this proceeding

2. The l’arties entered into a rent stabilized lease agreement ["or the premises known
as 2246 Wehster Avenue. Apt. 34. Bronx, NY lti=i§? liar the period commencing May it 2003
and through and including Apri| 30. 2004. Please see the aforementioned E.\'hihil.' “l."1

3. 'i.`hereaf`ter, the Parties executed and entered a two (2) year renewal lease thereoi"
I"orthe period commencing May |, 2004 through and including ¢‘-\ prii 3(}~ 20()6.

4. As the end oi` that tenn a}:)proaelied1 l’|aintii`t`sent to Deiiendant a leaS;e renewal
agreement to which Dei`endant failed to respond

5. Despile failing to respond to that lease agreement, Defend

ant continued to pay

rent tin‘ough lone ot`?.til}r£i.

6. i{owever, Det`endont did not vacate the premises until on or about miguel ‘i 20th

P|ease see the aforementioned i.-`.>chibit “3."

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Case 1:16-cv-02134-ALC Document86-57 Filed 08/18/17F?ag.e\.€&...c).t_.l.lO

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?. My attorneys there-lore advi$¢d mix mm pumuam m Ehe mud Ot NLW t m

govern rem Sl¢'!l>ll`lfsd |easesttcnancies_. ijJet`entiant satisfied the conditions oi"a deemed l‘E¢IW\'-’i‘l-
S' le Wllhl“ lm?"~`:¢':dl“t_’~s was commenced against Def`endant to recover rental

arrears in the amount ol'§’i.i.‘}'.i?».':? |. and .‘SGUO.¢]Q in damages due and owingr by [)efendnnt to

lllal“llll` PU*`$\|BHL to the l’arties’ lease agreement t`or the premises known as 2246 Wehster

Avenue, Apt. 34` lironx, i\' Y.

9. Tltel'eal`ter. at a pre--trial conference ol'this matter on january 3. 2012, by W"‘lr' 'T'l i"

So-Orclered Stipulation, the l’arties henctn settled this matter in the sum ot`$£.tlt)t}.tlti at the rate
O't`$SD.{lt} per month until that sum had been paid in l`uil.

IU. Also per the terms oi"that Sti[.tu|ation ot"Settlement. Det`endant agreed that in the
event site should default on that setl'lement_. Plaintil'f' was entitled to judgment in the tull amount
of Delendant’s arrears halanec, $3.993.‘}1_. less any amount paidn with interest thereon from july
l. ?.UUE.

l l. Also per that Slipulation of Settlement, upon l`.'tet`endnnt’s det`ault_. l’|aintil"fwas to
provide to Det`endant with a notice oi` dcl`ault and iii-day opportunity to cure said det`auit.

ll 'l`ha`t pursuant to the Parties` stipulation. Piaintill`coilected $‘.Ztii].t}l].

13. That [Jeiiendant defaulted on that stipulation on at least three occasions

`|4. Thereat"ter. upon Det`endant"s l"ui|ure to cure her default t`or the month o't`.l uly,
2012, Plaintilt` submitted |`or and obtained judgment against Det`endaot in .‘Sejstember__ 20|;1_

15. Thereat`ter, P[aintit`t`commenced execution measures and successfully collected
$934.3! toward the satisfaction of that judgment P|ease see tha aforementioned Eshibit `“,"2

lti. 'l`hcreli:\ re1 Del`endant continues to owe to Plaintit`l` $5,044.?2 toward the

satisfaction oi` that judgment balance.

Page 66

 

l?.

M`y attorneys has advised me that the Def'endant E,LIZ."ABE'I`H ALlBIZl-l
ACEVEDO has filed an Order to Show Cause which seeks to vacate the Parties+ Stipulation and

execution measures taken against Dei'endanl.

W(Ii~ltl:`.R.l-EFORE, your deponent prays that the relief sought herein is granted in all respects
an Ol` mich 13th and l`urtl‘tel‘ relief as to this court may seem just and proper.

Sworn to before me this
. wm cia of Marc}t, 2013

mw Tara Cireku|ak

Notary Pub|ic

  

CE'Cll_ir`i A. FERRD

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 75 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 7_6 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 78 of 110

 

 

 
  
     
    

 

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Case 1:1;6-cv-02134-ALC Do'C'ume-nt 86-57 Filed 08/18/17 Page 79 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 80 of 110

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CaSe 1:16.-cv-02134-ALC Document 86-57 Filed_ 08/18/17 Page 81 of 110

 

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l received the ‘Summons and Complaint, but service was not correct as required by law.

 

allegations ira the complaint

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I do not owe this deht.

1 did not incur this debt. l am the victim of itleotit_tt theft or mistaken identity
there paid.atl or port olthe alleged debt
XX l dispute the amount ol` the debt.

Plaintiff is required to be licensed by the department of consumer affairs of the C.'ity t)t` blow York and
does not allege a license number in the Complaint.

Statute ofl,imitatioos ( tire time has passed 10 sua ott this debt: more than six years),
10 Thc debt has been discharged in bankruptcy

11 't`he collateral (property) was not sold at a commercially reasonable prieo.

l2 KX lUnjust enrichment (the amount demanded is excessive compared with the original deht.}

 

13 WViolaLiort oftlta duty oi"good faith and fair dealing

14 _ Unoonscionability {tht: contract is unfair._]

15 : Laehes (plaint'ti"f has excessively delayed in bringing this lawsuit to my disadvantage,}

lti Defendant ia'in the military

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13 :Pleaoe take notice that my only source of income is _ 1vrhieh le exempt from collection
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Thi.'t ease is scheduled to appear on the calendar as follows:
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 82 of 110

 

   

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IDet`endam(s).

 

11 is heretol stipulated and agreed by and between the parties that the above-referenced
action is settled as i`o|lows: 1 .::]ts.'..':\»Ur"*-J\`\rt:'€ _§i:"\§$(.;{..~ .’.:.Y»C'-» *»-»»--- '*"’_;s-"§
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 84 of 110

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 85 of 110

Kavulir:h ».'t.c Assuci:itcs, P.C.
131 Westchtester Aw:uue
Suite 501}C
Port 'Cht:ster, NY 10573
I'*hcme: {91¢1]355-21174 F:lx: {9]4) 355»2973

April 9, 2012

Eiizsbeth Alibizu Acevc:do
311 E. 16?11\ Strt:et

Apl. 291

Brot'tx, NY 10459-27?1

Re: Ds:|`aulted Stipulation

2246 Wc:bstc:r Avcnue, HDFC'
File Nc:.: 1331?

Dsar E|izabeth Alibizu Ac¢vedn:

Ynu are in defau!t of your payment under the stipulation signed by you. Plsass he

advised that iftht: default is nut cured within 10 days uf chs date of this lettsr, my client
will pursue atl remedies available to il under law.

Kindly forward 311 remittances m us, payable la the law finn of Kavuiich dc Associates,
P‘C. at 131 Westchcscer Ave., Suits SOUC`. Pnrl Cheslcr, N'd’ 105'1’3 with your file
number on said payment. Thank you for your attention to this nistter.

     

Gsry Kavu i , Esq.

This is an attempt tn collect a debt. Any information ab

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purposc. Tllis communication is from a d

abt collection

Pags 85

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 86 of 110

liavu|iclt &' Associates, `1".'11`w
131 Westchestt-r Avenue
Suite SUBC
Pt}l“t Chcster, NY 105'13
Pltotte: (914} 355-2074 Foit: {914) 355-2073

lurie 12, 2012

Elizabetli Alibizu .Acevedo
311 E. 16'?th Street

Apt. EA

Biotot,NY 10459~2'??1

Re: Defaulteti Stipulation

2246 Webster Aveoue HDFC.
File No.: 1381?

Dear Elizabetii Alibizu Aeevedo:

`\"ou are in default ofyour payment under tlie stipulation signed by you. Please be
advised that ifthe default is not cured within 10 da

ys of I:l:te date of this letter, my client
will pursue all remedies available to it under law.

Kintll“y forward all remittances to us, payable to the law firm ofl<`.avulieh &: Assoeiates,
P.C. et liil Westehester l"we.J Soite S(]UC, Port

Chestor, NY 105 ?3 with your file
number on said payment 'I`hanlc you for your attention to this matter.

    

ary szu!ich, E.sq.

'l'his is an attempt to collects debt. Any informs

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purpose Tlns communication ts from a debt collector mr mm

Page 86

Case 1:16-cv-02134-A|__C Document 86-5_7 Filed 08/18/17 Page 87 of 110

l{avulielr dc Associates, P.C.
131 Wcst'cltester Avennc.
Suite SIM]C
Port Chester._, lv'Y 10573
Phone: (91~'1) 355-211?¢? Fax: {914) 355~2'.073

August 23, 2012

Elizal:ietli Alibizu Aeevedo
811 E. telth Street

Apt. ZA

Brorut, NY 10459»2771

Re: Det`aultetl Stipulation

2245 Webster Avenue, HDFC
File No.: 1331?

Dear Elizal:tetlt Alibizu Acevedo:

You are in default ot`your payment under the stipulation signed by you. Flease be

advised that if the default is not cured within 10 days of the date of this letter. my client
will pursue all remedies available to it under law.

P€.iodly forward all remittances to us, payable to the law firm of Kavulich die Associates,
F.C. at 181 Westellestcr Ave., Buite SOUC, Port Cltester, `N"'¥' 105?3 with your file
number on said payment Thartk you for your attention to this mattcr.

 

This is on attempt to collect a deht. Aoy information obtained Will be used for that
purpose ’I`liis communication is from a debt collector.

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 88 of 110

 

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t‘ll 2246 \Nebsler Avenuo, HDFC
2245 Webster Avonuo, Bromc, N‘t' 1045'?~

S'hal| recover of the following penios. actst

Dolendant debtorts] and address
111 Elizabetl'\ Attl:itzu Aesvedo

B‘l‘t E. lB`l'l.l‘\ S\t'obl., Apl. EA, BrDrtX. NY 10459-

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Earoi Alt. Chtot Glert< Civlt Bourt

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 90 of 110

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2246 WEBS.l --------------------------------- rt motor NO. 48720»“11
me No. law

P laintiff_.
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Dci`endant_
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Gm"}' M. Kavu.lielz. Esq., an attorney duly admitted to practice law before the courts ol." the
State of New `r orl~: hereby affirms the following under the pena.lly of pcrjury_
§." o . .
On`Mareh.' ,{ 2{}is Iserved the within chly upon A|bcrto Torres, an., the attorney
for the Deteodant m this :\ctlon, by depositing a true copy in a post»paid envelope addressed to:

Alberlo 'I`orres, an,
629 l\'ie].rose Av'ertu.e
Bron>;, NY 10455

in an official depository under the exclusive dominion al
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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 91 of 110 --»-' ws-

YEAR: 201 l
l'NDEX NO: 4872[}

CI'V[L EOU'RT OF 'I'HE Cl'i"f OF NEW YDR_K.
COUNTY OF BRDNTP{

2246 WEBS'.I`ER AVENUE, HDFC.
Plaintif`l"_.

~ against »

ELIZABETH ALIB[ZU ACEVEDO,

Dci`endanl.

 

REPLY TO DEI-`E.NDANT’ DPPOS]TION TO PLAINTI.FF’S MOTION

 

Signature Ruie lBO-'l_I-a

 

P"t'int blame Berteath - Gtit'y M. K&vmich, lEsq.

 

Kavulich & Assoeiatea, P.C.
Attomeys for the Plaintif'l"

IBI Westcheetcl‘ Avcnuc, Suite SUDC
Port Chestor, NY 105?3
914-355-20?4

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17l Page 92 of 110

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Civil Court of the City ol` New Yorlt

  
  
 
 

 

 

 
 
  

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 93 of 110

C[Vl'l.. CDUR_T OF THE CITY Oi'" .`NEW YORK

 

COUNTY OF BRON'X
--x
2246 WEBSTER. A'VENUE, I'LDFC,
iNDE}{ NU. 43?2{})`] i
Plaintifi", FlLE NO. 13317
-against- . NOTICE C|F ENTRY

EL}ZABEIH A. ACE.VEDU,
'Dei`endent(s].
X

PLEASB TAKE NOTIC E, that annexed hereto is the Decision!Order duly entered

in the office of the Clerk of the Court on the il"‘ day of Meroh, 2013.

Dated: Westchester, NY
Merch 25, 2013 Yours, cto.,
K.avuficl't & Assoeietes, PC
llil Westchester Avenue, Ste. 5DOC
P'ort Eitester, NY 105?3

'l`o: A.lberto "i`orres, Esq.
629 Melt'ose Avenue

Brorlx, NY 104 55

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Page 93

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 94 of 110

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Case 1:16-cv-02134-A.LC Document 86-5.7 Filed 08/18/17 Page 95 of 110

 

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1245 W'EBTSER AVENUE, H.DFC, k Fl|c No

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ELIZABETH i\. Acn:vm`)¢:n

l]~efendant(s).

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Albcrlo Turrns, Esq.

629 Melrosc Aw:nue

Brol\x, NY 10455

in an omcial depository under the exclusive care and custody of the Uni{c~.d Stales Poslnl .Survic¢:,

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CARY KAVULICII

NOTARY PUBL[C-STATE OI~' l"i`l'-JW \'ORH
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Page 95

02134-ALC Document86-57 Filed 08/18/17 Page 96 of 110

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Civil Court ofthe City of New York

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Claimant{s)fPlaintjff(s}fPetitioner(s]
against

H;M HET/»L ALI@;E 201/rae

Defendant{s)fl{espnndent(s)

 

Upon the foregoing cited papers, the Decision!()rder on this Motinn to

7 Page 97 of 110

Index Number“_': ¢"5“* d ‘/Z' `? .`1--'3` -'-/f/L?'/f'”
Motion Cal. # Moticm Seq. #

DECISION!ORDER

R¢r:iulion‘ as required by CPLR §22 19 { 21. uf Lhc pnpc;s
wondech in the review of this Mntinn.'

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Rep|ying M’lidavits .................................
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CaSe 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 98 of 110

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2240 WEBSTER AVENUE, HDFC, index No.: CV-43720-111E1X
F*laintifi1
DECIS|DN/ORDER
-against-
Present:
ELZABETH ALB!ZU ACE\/EDO, HDN, PAUL A. GOETZ
Defendant.
Fiecitation as Ftequired by CPI.R §2219(a}: The following papers F'apers Numbered

were read on plaintist motion for judgment based upon defendants
default on stipulation and defendants cross motion to
vacate the stipulation:

Motion, Attorney Affirmation, AfHdavit and Exhlbrts 1
Opposition and Cross N'lotion. Attornejr Afnrmation, Affidavit and Exhibits.t......._..._.. 2
Attornev Affirrnation in Repiv and Opposition to Cross il.tlotion. with Exhibits‘.`. 3

Upon review of the foregoing papers, plaintiffs motion for a judgment pursuant
to defendants default on a stipulation and defendants cross motion to vacate the
stipuiation, is decided as follows:

Plaintiff seeks entry of judgment in the amount of $2.632.08 with interest from
July 1, 2000 plus costs and disbursements based upon defendants default on a
Stipulation, dated January 2, 2012 (the "2012 Stipulation"), which provided for
settlement of all plaintiffs claims against defendant in exchange for payment of
$2,000+00 in $50.00 monthly installmentsl The stipulation provides that if defendant
defaults on the stipulation,' plaintiff may move forjudgrnent in the amount of $3,993.91
with interest from duly 2005l According to plaintiff. $3.993.91 represents unpaid rem
fortna period of July 2000 through November 2006 (the sum of $399.79 for July 2006

plus $3,594.?2 for the four months ofAugust through Nover'nber 2006 (at $393 53 par
month}. `

|n September 2012. the Cleri< entered judgment (the “2012 Jud
defendantin the amount of $0.029.53 ($3,993 51 with interest

in Mlarch 20131 the Goud issued an order (the “N|aroh 2013 C.'er r"
the 2012 Judgment without prejudice to plaintiff moving for entry of jid;lm:;:::;§g

upon defendants alleged default on the 2012 Stipuiation and wit - -
defendants moving to vacate the 2012 Stipulation. hour prejudice to

Piaintiff credits defendant with payments in the amount of $1 3 _
payments by defendant pursuant to the 2012 Stipulation and $1116'1 §;:?_13 L_i($;:»?(iiji.ftti in
wages garnished pursuant to the now vacated 2012 Judgment)_ ` s endant s

Defendant's cross motion seeks to vacate the 2012 3 ' ‘
cPLR §§ sotsrairai end 2001 because she was npu|atmn' pursuant m

unrepresented at the time she entered
F"ag& 93

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 99 of 110

into the stipulation and because she did so in reliance UPOF\ P'al"tifr'$ mistaken
representation that she owed $3,993.91 in unpaid rent.

Defendant claims that she was under rio obligation to pair tent after ADVII 39»
2006 when her lease expired; that she vacated the premises and moved to a NYQHA
apartment in ..lune 2006; that plaintith rent payment ledgerl attached as an exhibit to
defendants cross motion (a document defendant did not have access to at the time she
entered into the 2012 $tipulation) indicates that defendant owed $1.233-93 in L"il'-ia'd
rent through November 2006; that she paid more than $200.00 towade me _2912
Stipulation and that her wages were garnished as a result of the 2012 Judgment in an
amount that is greater than the $1. 161 .63 set forth by plaintiff

Defendant asserts that she became a month to month tenant after her lease
expired on Aprii 30, 2006. in support of her claims. defendant attaches a copy of a
lease to her NYCHA apartment that commences in June 2006 and a copy of the
plaintist rental payment ledger. However, defendant does riot attach any evidence ith
she surrendered possession of the apartment upon the lease expiration date of April 30,
2006 and made no payments for rent after the lease expired. See Rent Stabi|ization
code i*'nsc") § 2523.5(¢)(2;.

Plaintiff claims that defendants rent stabilized lease, which expired on April 60,
2006 was “deerned" renewed after plaintiff failed to return the lease renewal form and
paid rent for the month of lv'lay, 2006.

Stipu|ations of settlement are favored and not lightly cast aside. (Hafl'ock v Sfate
of New York, 64 N`r’2d 224, 230 [1964]). A court should not disturb a valid Stipulation
absent a showing ot cause sufficient to invalidate a contract, such as fraud , coilusion,
mistake or duress; or unless the agreement is unconscionable; or contrary to public
policy; or unless it suggests an ambiguity indicating that the words did not fully and
accurately represent the parties’ agreement (McCoy v Fe.i'nman, 99 NY?_d 205 [2002]
[citatfons omittedj); or where it appears that the movant "inadven.ently, inadvisably1 or
improvidently entered into an agreement which witt take the case out of a due end
ordinary course of proceeding in the action and work to his prejudice" (Matter ofFrt.iti`ger
as uvadiss, isaac risri]). ’

Pursuant to CPLR §5015(aj. a Court which renders an order may relieve a party
from it upon such terms as may be just, on motion of any interested person With SUCh
notice as the court may direct. upon ground of {1) excusable default; or (2) newly
discovered evidence ; (3} traud, misrepresentation, or other misconduct of an adverse
party; or (¢l) lack of jurisdiction to render the judgment or order; er (5} reversal
modification or vacatur of a prior judgment or order upon which it is based '

1260 § 2523.5(c}(2) provides that where the tenant fails to timely renew an
expiring lease or rental agreement offered pursuant to this section and remains in
occupancy after expiration of the |ease, such lease or rental agreement may be deems l
to have been renewed upon the same terms and conditions at the legal regulated E|-,:
together with any guidelines adjustments that would have been applicable had the offet

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 100 of 110

of a renewal lease been timely accepted and that the effective date of the rent
adjustment under the "deemed" renewal lease shall commence on the first rent payment
date occurring no less than 00 days after such offer is made by the owner.

Contraryto defendant's position that she was a month to month tenant, the Court.
based upon the Rent Stabi|ization Code, determines that plaintiffs iease was properly
deemed renewed for a one year term when defendant made rent payments after Apri|
30, 2006. Moreover. defendant has failed to establish that she surrendered possession
of the premises prior to August 2006

However, plaintist opposition papers do not respond to and do not controvert
defendants assertion based upon piaintiff’s rent payment ledger (a document
defendantdid not have access to at the time she entered into the 2012 Stipulation), that
she owed $1,233.08 at the time she entered into the 2012 Stipulation instead of the
$2.000.00 settlement amount and 03,003.01 total amount set forth in the 2012
Stipulation. "Facts appearing in the movant‘s papers which the opposing party does not
controvert, may be deemed to be admitted.” ('Kuehne d Nagel’ inc v Bar‘den, 36 NY.?d
530, 644 [1075]).

The Court finds, based upon the uncontroverted evidence submitted by
defendant that the 2012 Stipuiation was based upon a mistake as to the amount of rent
owed (plaintiffs mistaken assertion that defendant owed $3,003.01 instead of the
correct amount owed $1,233.08) through November 2006.

Therefore, because plaintiff was mistaken as to the amount owed when the 2012
Stipulation was entered into by the parties and defendant inadvertently and inadvisably
entered into the 2012 Stipuiation based upon plaintiffs mistake the Court grants
defendants motion to vacate the 2012 Stipuiation. (See McCoy v Fei'nrnan. 00 N‘i’2d
205 [2002]; Matter of Frutiger. 20 NY2d143, 140-50 [107’1]).

Accordingly, plaintiffs motion for judgment is denied and defendants motion to
vacate the stipulation is granted and the Clerli is directed to restore this matter in the
appropriate calendar.

This constitutes the Decision and Order of this Court.

   

Dated: duly 3, 2014

 

aen. Paui n. edetz, . .c.

 

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 102 of 110

C|V|i_ CDL.|RT OF THE C|`l`“'i" OF NEW YGFEK
COL.|NT'Y' DF BR_QN)¢C: PART 30

 

2246 WEBSTER AVENUE, HDFC, |ndex No.: CVAB?EO*i TYBX
F’laintiff.
DEGIS|ON!DRDER
-against-
Present:
ELZABETH AL,B|ZU ACEVEDO, HON. PAUL A., GDETZ.'
Defendant.
Recitation as Required by CPLR §2219{a}: The following papers PHPEFS NUmbf-‘ifed

were read on plaintiffs motion for judgment based upon defendants
default on stipulation and defendants cross motion to
vacate the stipulation:

tvlotion. Altorney Affirrnation, Atfidavit and Exhibits .................................................... 1
Gpposition and Cross Motion. Atlorney Afhrmation, Affidavit and Exhibits ................ 2
Attorney Afflrmation in Reply and Opposition to Cross lv‘lot'ion. with E)rhibils_ .. 3

Llpon review of the foregoing papersT plaintiffs motion for a judgment pursuant
to defendants default on a stipulation and defendants cross motion to vacate the
stipulation is decided as follows:

Plalntifi seeks entry of judgment in the amount of $2.632.06 with interest from
duly 1, 2006 plus costs and disbursements based upon defendants default on a
Stipulation, dated January 2, 2012 (the “2012 Stipulation"j, which provided for
settlement of atl plaintist claims against defendant in exchange for payment of
$2,000.00 in $50.00 monthly installmentsl The stipulation provides that if defendant
defaults on the stipulation, plaintiff may move forjudgment in the amount of $3,093.91
with interest from ..lu|y 2006 According to plaintiff1 $3,093‘01 represents unpaid rent
for the period of liu|y 2006 through November 2006 (the sum of $309.79 for July 2006
plus $1;1,594,72 for the four months of August through Novernber 2006 (at 5606.53 per
month .

in September 2012, the i'.`,lerk entered judgment ithe “2012 Judgrnent"j against
defendant in the amount of $6,029.53 ($3,093.61 with interestfrorn July 2006 and costs)
based upon defendants default on the 2012 Stipu|ation, Defendant*s wages were later
garnished based upon the 2012 Judgment.

in March 20131 the Court issued an order (the “|viarch 2013 Order") that vacated
the 2012 dudgment without prejudice to plaintiff moving for entry of judgment ba$,_:_.d
upon defendant's alleged default on the 2012 6tipulation and without pre’udig t
defendants moving to vacate the 2012 stipulation ' 1 E 0

Plalntiff credits defendant with payments in the amount of 51 361 6 '
payments by defendant pursuant to the 2012 Stipulatlon and $1,1611_33';“3(§:;{:`%00;,"
wages garnished pursuant to the now vacated 2012 dudgment)_ an 5

Defendant's cross motion seeks to vacate the 2012 Btipuiat'
lo
EPLR §§ 5016{a){2) and 2001 because she was unrepresented at the tir:e spl:le:$:r:;:atg

Page 102

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 103 of 110

into the stipulation and because she did so in reliance upon Piailliiff`~“`» mi$iak@"
representation that she owed $3,993.91 in unpaid rent.`

Defendant claims that she was under no obligation to pay rent after Aflfi| 39,
2006 when her lease expired; that she vacated the premises and moved to a NYC§HA
apartment in June 2006; that plaintist rent payment ledger, attached as an exhibit to
defendants cross motion (a document defendant did not have access to at the time she
entered into the 2012 Stipulation} indicates that defendant owed $1.233.93 ll`l LllllJ-'€lld
rent through November 2006; that she paid more than $200.00 towards the 2012
Stipulation and that her wages were garnished as a result of the 2012 Judgrnent in an
amount that is greater than the $1,161.63 set forth by plaintiff.

Defendant asserts that she became a month to month tenant after her lease
expired on Aprll 30, 2006. ln support of her claimsl defendant attaches a copy of a
lease to her NYCl-lA apartment that commences in June 2006 and a copy of the
plaintiffs rental payment ledger However, defendant does not attach any evidence that
she surrendered possession of the apartment upon the lease expiration date of April 30,
2006 and made no payments for rent after the lease expiredl See Ftent Stabilization
Code ("RSC") § 2623.5(c)(2).

Plaintiff claims that defendants rent stabilized |ease‘ which expired on April 30.
2006 was “deerned" renewed after plaintiff failed to return the lease renewal form and
paid rent for the month of tv'lay1 2006

Stipulations of settlement are favored and not lightly cast aside. (Halloclr v Si‘ate
ofl'vew Yoriir. 64 hl‘i’2d 22¢l, 230 [1964]). A court should not disturb a valid Stipulation
absent a showing of cause sufficient to invalidate a contractl such as fraud, collusion,
mistake or duress; or unless the agreement is unconscionable; cr contrary to public
policy; or unless it suggests an ambiguity indicating that the words did not fully and
accurately represent the parties‘ agreement (McCoy v Fer'nriian,` 09 NY2d 295 [2002]
[cr`tatforis omittedj); or where it appears that the movant “inadvertently, inadvisably. or
improvidently entered into an agreement which will take the case out of a due and
ordinary course of proceeding in the action and work to his prejudice" (MaiterofFrufi`ge-r,
20 NY2d143, 146-50 [1971]).

F’ursuant to CF’LR §6015(a), a Court Which renders an order may relieve a party
from it upon such terms as may be jusl. on motion of any interested person W;th gunn
notice as the court may direct1 upon ground of (1) excusable defauil; or (2) newly
discovered evidence ; (3) fraud, misrepresentation, or other misconduct of an adverse
party; or (4) laclr. of jurisdiction to render the judgment or order; or (5) reversal
modification or vacatur of a prior judgment or order upon which lt is based l

660 § 2523.6(c)(2) provides that where the tenant fails to timely renew an
expiring lease or rental agreement offered pursuant to this section, and remains in
occupancy after expiration of the lease_ such lease or rental agreement may be deemed
to have been renewed upon the same terms and conditions at the lagai regulated rem
together with any guidelines adjustments that would have been applicable had the offe;

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Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 104 of 110

of a renewal lease been timely accepted and that the effective date of the rent
adjustment underthe “deemed" renewal lease shall commence on the first rent payment
date occurring i'lD 1633 then 90 days after such offer is made by the owner

Contran; to defendants position that she was a month to month tenant, the Court,
based upon the Rent Stabilization Code, determines that plaintith lease was properly
deemed renewed for a one year term when defendant made rent payments after Aprii
30, 2005. Moreover, defendant has failed to establish that she surrendered possession
cf the premises prior to August 2005

However, plaintist opposition papers do not respond to and do not controvert
defendants assertion, based upon plaintiffs rent payment ledger (a document
defendantdid not have access to at the time she entered into the 2012 Stipulation), that
she owed $1.233‘93 at the time she entered into the 2012 Stipu|ation instead of the
$21000.00 settlement amount and $3t993.01 total amount set forth in the 2012
Stipuiation. “Facts appearing in the movant’s papers which the opposing party does not
controvert mayr be deemed to be admitted." (Kuehne dr Nage! inc v Bafden, 30 NYEd

539, 544 ['1975]).

The Coun finds, based upon the uncontroverted evidence submitted by
defendant that the 2012 Stipu|ation was based upon a mistake as to the amount of rent
owed (p|atntiffs mistaken assertion that defendant owed $3.993.91 instead of the

correct amount owed $1.233.98} through November 2000l

Therefore, because plaintiff Was mistaken as to the amount owed when the 2012
Stipulation was entered into by the parties and defendant inadvertently and inadvisably
entered into the 2012 Stipu|ation based upon plaintiffs mistake the Court grants
defendants motion to vacate the 2012 Stipuiationt {See MoCoy' v Feinrnan, 99 NY2d

295 [2002]; Marterarr=rutrger, 29 r~rrz.cnas1 149~50[19?1]).

Aocordingiy. plaintiffs motion for judgment is denied and defendants motion to
vacate the stipulation is granted and the Clen< is directed to restore this matter to the

appropriate calendar.

This constitutes the Decision and Order of this Court.

Dated: duly 3, 2014 /ZH¢W\

i-Ion. F'au| A. Gdetz,`fi?C.C. "

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C|V|L COURT
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Case 1:16-cv-02134-ALC Docume_nt 86-5¢}#--Filed 08/18/17 Page 105 of 110 -»~-~-"-~

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CWtL COURT OF 'l`t'-IE CITY OF NEIW YORt; No r:Ar_eNortrt minimis assessed

 

 

 

 

 

COUNTY OF .BRON`X: t’ART 30 [NDEX tug 43730;| l
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Plaintifi`t NO'|`,IC ii OI;` MO“I`]`()M
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Attorneys for Plaintit`t`
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At`tirmation ot`(iar_i,r M. i<'.avulicih [€sq.,
dated iicbruar}r 20, 2014. al`l'idavit ot".inninc
Losey. managing agent l`or thc Piaintii`i'l and
upon ali the papers and proceeding
heretofore had herein

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SUPPORTING PAPERS:

  

Case 1:16-cv-02134-A|,_C Document 86-57 Filed 08/18/17 W|?;a“g`e_106__.Qt,`1|1_Q______W

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R.EL[EF REQUESTED: gm 01 der I.T_Mgmcm against tile 5
Dcfendant in the arnoth of$Z.d_)Z.t)St plus

costs. fees disbursements and interest from
Jul;r 1,2006_. and for such other and further
relief as to this Court may deem just and

 

 

pro per.
Dated: l*ort Chcster, blow York.
Fchruary 20. 2014
Yours Etr;..
Kavuiichrdf Associate€,! 15:`€'."/

By: Gary lvi. Kavulich, Esq.

131 Wcstchestcr Ave., Suite 500-C
Port Chester, NY 10573

(914) 355~20?4

To: Alberto Torres, Esq.
At‘torney for the Defendant
629 Mcirose revenue
Bronx, NY 10455

Page 100

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 107 of 110

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conirr\/ or nnoi~ix: Pite“r so tilth ‘ .," " '
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1240 WEBSTER AVENUE_. .l-lDFC`,

I’lainiifi`. MM
- against -
- El'_.lZ_l-\BE.'l`l-l Al_.lBlZl_l ACEVF.DU.
Del`endant.
_____________________________________________________________ ){
Gary M. l{avullch. Esq.. an attorney duly admitted to practice law before the
Courts ofthe State of i\le‘.v Yori~t herchl at`tirms the following under the penalty of
petiury.

1. l run a member of the law firm of l<avulich ¢.\‘: Assooiates, .li',C.._ attorneys for the
Plaintiff. iterciri. As such_. l am fully tilmiliar with the facts and circumstances ut`thc
within proceedin_i_zE except as to those matters stated to bc based upon information and
bciici`, and as to those matters l believe thorn to he tnie, ’.l`he basis of my belief is
information fumished to me by my client. information contained within the (.`ourt‘s tile
and information contained within the file as maintained by your al'lirmant`s attica

2. intake this affirmation in support of Plaintiff"s application for a judgment against
ljsl"cndant EL.IZAB 51~_{~]_ ALIBIZ,U ACEVEDU pursuant to Dcfcndant`s default upon a

signed stipulation dated january 3. 2012. and for such other and further relief as to this

Court may deem just and p'ropcr. Please see a copy ot' that stipulation annexed hamm 35

E>:hibit ‘*i ."`

Page 107

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 108 of 110

BACNGRQQ§Q

3~ miamii`i`¢@mmen¢ed this action seeking to recover 55.093,9i on or about .|uty 14.
39`11-Ann€t¢dheetn re attain 2 te the arant-it arriamnrt maintains teeth 11"1"‘“"“
LDSC‘)'- Plt-*BSC S€C the summons and complaint annexed hereto as E:~:hihit “3.“"

4. Deieltdant interposed an answer on or about No‘.teml)el‘. 2 i, ZUi l. Picase See
D@f@l\d$lm`$ itItSW¢-J-t‘ annexed hereto as E.‘t|tibit “`4."

5. Tlterea'ftct: at a pre-trial conference of this matter nn lancale 3, 291 2, by WHF am
So*()rdered Slipttlation. lite Parties hereto settled this matter in the sum ol`lli§.i}t')t]‘fl{} al
thereto of i`>fit`].t)tt per month until that stan had been paid in t`ull. Please see
aforementioned E)thibit. “l

6. Further, upon De'fcndant"s default l`*iaintit"f was to provide to Defendant with a
notice of default and ltl*da§r opportunity to cure said default Please see the
aforementioned Exltibit “l ."`

”)’. Also per the terms of that Stipulation ofSettlement. Del"endant agreed that in the
event she should default on that settlelneut, Plaintiffwas entitled to judgment in the full
amount ot"Defendant`s arrears balance $3,993.9|, less any amount paid, with costs. fees
disbursements and interest thereon front July lt EOUti. Please see aforementioned E\;hi[»,j[

| ."` Please see the aforementioned l`;`i'.~thib`tt “2."’

S. Put'suant to the Parties’ stipulation, Plaintiit` collected $?.Ut`l.fltl, towage gee the

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aforementioned Ex.hibit ‘“2."
9. ttowever__ Det`endant defaulted on that stipulation on at least three occasion\;
Please see the aforementioned E)thii)it “2."

Page 108

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 109 of 110

ttl, i’ttrsuant to the stipulation1 Plaintifl` sent to Dei`endant the requisite d'-`J-"~W[‘
notices Plcase see those default notices zmnexed hereto as Exhil)it "5-"

l. l. 'ihereal`ter. upon l.}el`endant"s failure to cure her default for the month of ,luly.
201 2., Plaint:iff submitted tol`.iudt-:tnent against Dei'i:ndant. in Septeml)er. E’.Ull

ll Judt_tment was entered on Eielttetnber 27, 20 I l Please see a copyJ ol" that judgment
annexed hereto as ll§rhil_tit "(i."

13. Therea|'ten P|ainlil`l" commenced execution measures and successfully COil\€Cl€d

$1,161.83 toward the satisfaction of thatjodgment. Please see albrctnen'ticned .Eshibit

. tar-1 n

14. Defeadant then filed an Ordc.r to Show C`ause seeking to stay the execution
measures and restore this matter to the calendar. annexed hereto as Eichi.bit "?" is a copy
of Det`endaut`s t]rder to Show Cause.

15. 'l`hereatter, Defendant retained counsel and filed a supplemental t-tftirmation with
her Clrder to Stiow Cause. Annexed hereto as l"jxhibit "ll" is a copy ot'said affirmation

16. t',}n March I l1 20}3_. the Cottrt granted Det`endant*s Order to the extent that the
judgment and oil execution measures were uacated1 but the C.‘.otnt did not vacate the
stipulation due to the t`aet that the aforementioned stipulation allowed the Plaiutifl` to try
for emotion ofjttdt_t_ment upon the Det`endant‘s default italicized hereto as E>;hibit “Fi" ig
a copsr of the Court’s decisionF

IT. Thereti;n‘e, Det`endant owes $2.532.03, plus costs, t`ees. disbursements

and interest

from Ju|_tr l. 2006 to Plaintifl` toward thc satisfaction ofthe defaulted stipulation ple,wc.

see aforementioned l_~`.xhibit "`l

Page 109

Case 1:16-cv-02134-ALC Document 86-57 Filed 08/18/17 Page 110 01 110

_ . _ . ,.MM-_.__-_-w-m~_-.H-.w-w'r'
_”_H__~_`T?_,‘._:F_,._..,l.,_" tdcaq\gmggmnm¥nmwmw%¢uwww .. 'WM_ .

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We>.e-'.'*" * t"' '

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_ - 'ns due
13 AS Dcfendant has breach the terms ot` the stipulation and as thlS tilti=l?*t lamm

f ult
and owing to Plointift`, Plaintilt now moves for judgment pursuant w D°f‘”"“dam 5 de a

upon the stipulation

WHEREFORE your at`tirmant respectfully requests that the instant motion be &'»r
ali respects and for such other and turtlter reliefas to this Cotlrt may S€Em f
proper

     
  

Dated: Port Chester. New Yorlt
February 20, 2014

 

cary serieswtiot',/e't"q.

Page 110

 

